                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                           ■   Secret Indictment
Greene / Southern
                                                                                               Juvenile
Defendant Information
Defendant Name:                  BAYDON CHENNAULT

Alias Name:

Birth Date:                   11/18/1982
Related Case Information
Superseding Indictment?                                                                 19-03028-09-CR-S-MDH
                                   ■   Yes         No If yes, original case number:
New Defendant(s)?                  ■   Yes         No
Prior Complaint Case Number, if any:             NA

Prior Target Letter Case Number, if any: NA
U.S. Attorney Information
AUSA Byron Black

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
    Currently in Federal Custody                                                         Writ Required?                 Yes     ■   No
    Currently in State Custody                                                                                      ■   Yes         No
                                                                                         Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts                2 + FA

     Set                            Index Key & Description of Offense Charged                                     Count(s)

      1        21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(A)                                                             1

      2        18 U.S.C. § 922(g)(1)                                                                                    18

      3        21 U.S.C. § 853                                                                                          FA

      4



                                                        (May be continued on reverse)                              Revised: 04-25-2018
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